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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

    In RE PAYMENT CARD INTERCHANGE FEE                     MDL No. 1720 (MKB)(JO)
    AND MERCHANT DISCOUNT ANTITRUST                        1:05-md-01720 (MKB) (JO)
    LITIGATION.                                            Civil No. 05-5075 (MKB)(JO)

                                       NOTICE OF APPEAL

           Notice is hereby given that Jack Rabbit, LLC, and Cahaba Heights Service Center, Inc.,

    d/b/a Cahaba Heights Chevron, who are Rule 23(b)(3) Class Members and Objectors, in the

    above named case, hereby appeal to the United States Court of Appeals for the Second Circuit

    from: the FINAL APPROVAL ORDER [Order and Final Judgment approving the Superseding

    Settlement Agreement] (ECF Document 7818), entered on December 13, 2019; the

    MEMORANDUM & ORDER [approving the Superseding Settlement Agreement] (ECF

    Document 7821), entered on December 16, 2019; the MEMORANDUM & ORDER [granting

    attorney fees and expenses] (ECF Document 7822), entered on December 16, 2019; the ORDER

    [granting expenses and service awards o the Rule 23(b)(3) Class Plaintiffs] (ECF Document

    7823) entered on December 16, 2019; and, the JUDGMENT (ECF Document 7832) entered on

    December 20, 2019.

           Dated January 3, 2020

                                        Respectfully submitted,

     /s/ Paul S. Rothstein                          /s/ N. Albert Bacharach, Jr
     Attorney Paul S. Rothstein                     N. Albert Bacharach, Jr.
      Florida Bar Number: 310123                    Florida Bar Number: 209783
     Cocounsel for Class Members / Objectors and    Lead Counsel for Class Members / Objectors
     Jack Rabbit, LLC & 280 Station LLC             Jack Rabbit, LLC & 280 Station LLC
     (d/b/a/ Cowboys)                               (d/b/a/ Cowboys)
     Attorney Paul S. Rothstein, P.A.               N. Albert Bacharach, Jr., P.A.
     626 N.E. 1st Street                            4128 NW 13th Street
     Gainesville, FL 32601                          Gainesville, FL 32609-1807
     (352) 376-7650                                 (352) 378-9859
     (352) 374-7133 (Fax)                           (352) 338-1858 (Fax)
     E-Mail: psr@rothsteinforjustice.com            E-Mail: N.A.Bacharach@att.net
